Case 3:19-cv-10217-FLW-LHG Document 1-1 Filed 04/17/19 Page 1 of 56 PagelD: 7

EXHIBIT A
Case 3:19-cv-10217-FLW-LHG Document 1-1 Filed 04/17/19 Page 2 of 56 PagelD: 8

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SUMMONS DMG Legal Services
Personal Service

Attomey(s) 0 it “ .
Office Address p31 Fa nine Pavldvard, Spite Superior Court of
Town, State, Zip Code Mw“ MI on02 New Jersey
Mercer County
Telephone Number O 2 Tas 2742 La Ww Division
Attormey(s) for Plaintiff Docket No: 4 i7-)
Mercer County Comers ty

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in CIVIL ACTION

vs. . SUMMONS

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Defendant(s)
From The State of New Jersey To The Defendant(s) Nsmed Above:

The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this comptaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses ofeach deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
httpy/www,nicourts.gov/forms/10153 deptyclerkdawref.pdf.) Ifthe complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,

P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and # completed Case
Information State ment (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or fo plaintiff, ifno attorney is named above. A telephone cal! will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

Hf you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

Hf you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LA W (1-888-576-5525), If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civit
Division Management Office in the county listed above and online at

http://www. njcourts.pov/forms/10153 deptyclerklawref{pdf.

DATED: aI [2| 2019

Name of Defendant to Be Served: ra} TG (a Ms, tne ‘
Address of Defendant to Be Served: [75 water Street, Now Uork NY 10038
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Clerk of the Superior Court

Revised 11/17/2014, CN 10792-English (Appendix XII-A)

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ADAMS GUTIERREZ & LATTIBOUDERE, LLC
Sandro Polledri, Esq. (Court ID No.: 038971989)

The Legal Center

1037 Raymond Boulevard, Suite 900

Newark, NJ 07102

Tel. (973) 735-2742 Fax: (973) 735-2743

Attomeys for Plaintiff, Mercer County Community College

 

MERCER COUNTY COMMUNITY SUPERIOR COURT OF NEW JERSEY
COLLEGE, _ LAW DIVISION: MERCER COUNTY
Plaintiff,
DOCKET NO..
Vv.
Civil Action
AIG CLAIMS. INC. DECLARATORY JUDGMENT
, , COMPLAINT
Defendant.

 

 

 

Plaintiff Mercer County Community College (“Mercer or the “Coilege”), by and
through its counsel, hereby avers and says the following to be true to best of the Plaintiff's

knowledge, information and belief, and prays for relief in law and equity:

STATEMENT OF THE RELIEF REQUESTED

|. Plaintiff seeks a judgment declaring that Defendant AIG Claims, Inc. (“AIG”) is
obligated to defend and indemnify the College and its administrators in connection with
the employment lawsuit in Michael Flaherty v. Mercer County Community College,
Monise_ Princilus_and Mark Harris, Docket No. MER-L-000373-18 (the “Civil
Action’), which was filed in the Superior Court of New Jersey, Mercer County, by one
of its employees for retaliation under the New Jersey Conscientious Employee

Protection Act, N.J.S.A, 34:]9-1, et seq. (“CEPA”).

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. In addition, Plaintiff seeks reimbursement from AIG for the attorney’s fees and costs

of litigation expended in defense of the Civil Action, and such other relief as the Court

may deem to be just, proper and equitable.
STATEMENT OF JURISDICTION AND VENUE

. The Court possesses original, plenary personal jurisdiction over the parties to this
matter, and subject matter jurisdiction over the controversies between and among the
parties, pursuant to Article VI, Sections One and Three, of the New Jersey
Constitution and the Rules Governing the Courts of the State of New Jersey.

. The Court also possesses jurisdiction under the Declaratory Judgment Act, N.JLS.A.
2A:16-50 to 62.

Venue is properly laid in Mercer County as the College is located within the County

and the Defendant does business in this County.

THE PARTIES

. Plaintiff is a New Jersey public community college with its principal place of
business at 1200 Old Trenton Road, West Windsor Township, New Jersey 08550.

. Defendant AIG is the claims administrator for claims arising under the insurance
policy issued to Mercer by National Union Fire Insurance Company of Pittsburgh, Pa.
(“National Union”), a member underwriting company of AIG Claims, Inc., with its

principal place of business at 175 Water Street, New York, New York 10038.

THE POLICY

. National Union issued a comprehensive insurance policy which included an

Employment Practices Liability (“EPL”) Section, under Policy Number 01-590-20-
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92, to Mercer as the Insured with a Policy Period effective from July 1, 2017 to July
1, 2018 (“the Policy”). The Policy has a limit of liability of $5,000,000 and a self-
insured retention of $50,000 for Employment Practices Claims, and provides
coverage to the College as well as its Executives and employees. (The Employment
Practices Liability Section is attached hereto as Exhibit A).
The Policy states in relevant part in Clause I, Insuring Agrements, of the EPL
Coverage Section that it covers the Insured for the Loss arising from a Claim against
it for any Employment Practices Violations:
All coverage granted for Loss under this Coverage Section is provided solely
with respect to Claims first made against an Insured during the Policy Period or
any applicable Discovery Period and reported to the Insurer as required by this
Coverage Section, except to the extent coverage is extended pursuant to the
Claims Savings Clause of the Coverage Section to 2 Claim first made prior to the
Policy Period. Subject to the foregoing and the other terms, conditions and
limitations of this policy, this Coverage Section affords the following coverage:

A. Employment Practices Liability Coverage

This policy shall pay the Loss of each and every Insured arising from a Claim
made against such Insured for any Employment Practices Violation.

. Pursuant to Clause 12, Definitions, of the EPL Coverage Section, “Employment
Practices Violation” is defined to include such employment actions as wrongful
discharge or termination from employment, harassment and retaliation,

. Clause 12 defines “Claim” in relevant part as 1) a written demand for monetary, non-
monetary or injunctive relief, including, but not limited to, any demand for mediation,
arbitration or other alternative dispute resolution process, or any request to toll or
waive the statute of any limitations; or 2) a civil, criminal, administrative, regulatory

or arbitration proceeding for monetary, non-monetary or injunctive relief which is

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commenced by: (a) service of a complaint or similar pleading; (b) return of an
indictment, information or similar document (in the case of a cnminal proceeding); or
(c) receipt or filing of a notice of charges. court proceeding for money damages which
is commenced by service of a complaint or similar pleading.

Clause 3, Exclusions, of the EPL Coverage Section, allows for the exciusion of
coverage in a number of circumstances, including : (2) for claims arising out of prior
litigation, EEOC claims, or facts derived from such litigation or claims, and (3) for
claims arising out of the same or related employment violations contained in a prior
claim made “under any policy providing coverage” for such violations “which was in
force prior to the Inception Date of” the Policy.

Clause 5(a), Notice and Reporting, of the EPL Coverage Section — Reporting a Claim
— requires in relevant part that the Insured “‘shall, as a condition precedent to the
obligations of the Insurer under this Coverage Section, notify the Insurer in writing of
a Claim made against an Insured as soon as practicable after” becoming aware of the
Claim, and at a minimum that “notification must be provided no later than sixty (60)
days after the end of the Policy Period or the discovery Period (if applicable).”

Clause 5(b), Notice and Reporting, of the EPL Coverage Section — Relation Back to
the First Reported Claim — provides in relevant part: “Solely for the purpose of
establishing whether any subsequent Related Claim was first made during the Policy
Period or Discovery Period (if applicable), if during any such period a Claim was first
made and reported in accordance with Clause 5{a) above, then any Related Claim that

is subsequently made against an Insured and that is reported in accordance with

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Clause 5(a) above shall be deemed to have been first made at the time that such
previously reported Claim was first made.”

Clause 12, Definitions, provides that a Claim is “Related” to another Claim if it arises
out of or is attributable to “any facts or Wrongful Acts that are the same as or related

to those that were alleged in another Claim made against” the Insured.

FACTUAL AND PROCEDURAL HISTORY
On or about January 16, 2018, the College received a Demand Letter from the
attorney for Michael Flaherty, the Commanding Officer for College Safety and
Security at Mercer, advising that he intended to file a CEPA lawsuit against the
College on behalf of Flaherty, and attaching a copy of the intended Complaint.
Thereafter, on or about February 1, 2018, Flaherty initiated the Civil Action by filing
a complaint in the Mercer County Superior Court against the College, Monise
Princilus, the Executive Director of Human Resources and Compliance, and Dr. Mark
Harris, the Vice President for Finance and Administration. (Exhibit B).
It is alleged in the Civil Action that Princilus, with the knowledge and approval of
Harris, forced or coerced Jennifer Goddard, one of Flaherty’s subordinate security
officers, to file a sexual harassment complaint against him in February 2017 in
retaliation for protected whistleblowing activity he had allegedly engaged in during
the Fall of 2016, which complaint had an adverse impact on Flaherty’s continued
employment with the College.
After receiving the required written Notice from the College about the claim asserted
in the Civil Action, AIG issued a disclaimer letter on March 5, 2018 denying

coverage of that employment practices claim.

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20. The denial was based on the determination pursuant to Clause 5(b) of the EPL

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Coverage Section that the claims asserted in the Civil Action were not covered
because they were “Related” to criminal complaints that Flaherty had previously filed
in the West Windsor Municipal Court in or about June 2017 — outside the Policy
Period — against Princilus and Harris in which Flaherty alleged that Princilus had,
with the knowledge and approval of Harris, engaged in criminal conduct by
threatening and coercing Goddard into filing the sexual harassment complaint against
Flaherty.

As a result of those crimina) complaints, the Prosecutor’s Office issued Summons
Notices to both Princilus and Harris, and opened a criminal investigation into the
matter, causing both to retain counsel.

The College had provided notice to AIG about those criminal complaints in August
2017, even though the complaints had been made against Princilus and Harris in June
2017 prior to the Policy Period of the AIG EPL Policy.

By disclaimer letter dated October 3, 2017, AIG denied coverage with respect to the
criminal complaints because the claims were made prior to the inception of the July
2017-July 2018 Policy.

The criminal action against Dr. Harris was administratively dismissed by the Mercer
County Prosecutor’s Office in August 2017, and by Order dated September 28, 2017,

all records pertaining to that criminal action were expunged.

. The criminal action against Ms. Princilus was administratively dismissed in

November 2017, and by Order dated November 28, 2017, all records pertaining to

that criminal action were expunged.

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26. Mercer’s appeal to AIG from the March 5, 2018 disclaimer of coverage of the Civil

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Action was denied by letter from coverage counsel for AIG dated February 7, 2019.
The denial of the appeal was based on the same reasoning as the denial of coverage
set forth in the March 5, 2018 disclaimer of coverage: that the Civil Action is a
“Related Claim” to the criminal complaints which were made outside the Policy
Period.

Plaintiff and Defendant are “persons” within the meaning of N.J.S.A. 2A:16-50.
The Policy is a "contract" within the meaning of N.J.S.A. 2A:16-53 and 54.
Plaintiff asks the Court to declare the rights, status and legal relations between and
among the parties with respect to Defendant’s obligation to defend and indemnify the
College and its administrators under the Policy in connection with the underlying
Civil Action, and under any other applicable statute, regulation, ordinance, law or
common law rule. See N.JLS.A. 2A:16-52 and 53.

With the exception for the possible need for enforcement, the entry of a declaratory
judgment will terminate the uncertainty or controversies that gave rise to this
proceeding. See N.J.S.A. 2A:16-61.

Upon information and belief, al] persons who have, or could have, any interest in the

Policy have been named in this action pursuant pursuant to N.J.S.A, 2A:16—S56.

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FIRST COUNT

DECLARATORY JUDGMENT SHOULD BE ENTERED PURSUANT TO N.J.S.A.
2A:16-15 TO 62 DIRECTING THE DEFENDANT TO DEFEND AND INDEMNIFY
THE PLAINTIFF IN CONNECTION WITH THE CIVIL ACTION FILED BY

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MICHAEL FLAHERTY

Plaintiff repeats all of the allegations set forth above as if set forth verbatim and at
length herein.

Mercer received notice of the employmet retaliation claim made by Flaherty against
the College, Princilus and Dr. Haris on or about January 16, 2018.

Flaherty filed the CEPA Civil Action in the Superior Court of New Jersey, Mercer
County, on or about February 1, 2018.

Mercer tendered coverage of the Civil Action to AIG in a timely fashion under Clause
3(a) of the EPL Policy.

The employment retaliation claim made by Flaherty against the College, Princilus and
Dr. Harris in the Civil Action filed on or about February 1, 2018 under CEPA 1s an
Employment Practices Violation as defined in Clause 12 of the Policy and a Claim
made against the Plaintiff within the Policy Period .

The employment retaliation claim made by Flaherty against the College, Princilus and
Dr. Harris in the Civil Action under CEPA is an Employment Practices Violation for
which AIG is obligated to defend and indemnify the College pursuant to Clause | (A)
of the Insuring Agreements Section of the Policy.

The Relation Back to the First Reported Claim provision in Clause 5(b), Notice and
Reporting, of the EPL Coverage Section of the Policy does not apply to the
circumstances concerning the timely reported Flaherty Civil Action because the prior

Criminal complaints filed by Flaherty against Princilus and Dr. Harris in June 2017
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were not losses “arising from a Claim made against an Insured for any Employment
Practices Violation” as provided for in Clause 1A., Insuring Agrements, of the EPL
Coverage Section of the Policy because the threats and coercion allegedly made by
Princilus against Godard are not Employment Practices Violations as defined in Clause
12, Definitions.

The Relation Back to the First Reported Claim provision in Clause 5(b), Notice and
Reporting, of the EPL Coverage Section of the Policy does not apply because the prior
Criminal proceedings did not arise from the same facts or from an Employment
Practices Violation where the criminal proceedings arose from threats and coercion
allegedly made by Princilus against Goddard whereas the Civil Action concerns the

alleged imposition of an adverse employment action by the College against Flaherty.

WHEREFORE, Plaintiff Mercer County Community College demands and
requests relief as follows:

A. The entry of a final judgment declaring that the Defendant, AIG Claims,
Inc., must defend and indemnify Mercer County Community College, Monise
Princilus and Dr. Mark Harris with respect to the Employment Practices Claim
asserted under CEPA in the Civil Action filed by Michael Flaherty against them in
the Superior Court of New Jersey, Mercer County, to the full extent of the Policy,
pursuant to N.J.S.A. 2A:16-50 to -62;

B. For the defense costs of the expenses and legal fees paid by Plaintiff in

connection with the litigation of the Action;

C. For a reasonable counsel fee pursuant to any pertinent statute or regulation;

pursuant to R. 4:42-9(a)(6), and pursuant to the equitable powers of the Court;

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D. For costs of suit;

E, For pre-judgment and post-judgment interest; and

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F. For such other relief as the Court may deem to be proper and equitable, in

the interest of justice.

SECOND COUNT

BREACH OF CONTRACT

40. Plaintiff repeats all of the allegations set forth above, as if set forth verbatim and at
length herein.

41. Defendant breached the express terms of the Policy by its dental of coverage based on
its improper reading of the Relation Back to the First Reported Claim provision in

Clause 5(b)}, Notice and Reporting, of the EPL Coverage Section of the Policy.

WHEREFORE, Plaintiff Mercer County Community College demands and requests relief
as follows:

A. The entry ofa final judgment declaring that the Defendant, AIG Claims, Inc., must defend
and indemnify Mercer County Community College, Monise Princilus and Dr. Mark Harris
with respect to the Employment Practices Claim asserted under CEPA in the Civil Action
filed by Michael Flaherty against them in the Superior Court of New Jersey, Mercer
County, to the full extent of the Policy, pursuant to N.J.S.A. 2A:16-50 to -62;

B. For the defense costs of the expenses and legal fees paid by Plaintiff in

connection with the litigation of the Action;

C. For a reasonable counsel fee pursuant to any pertinent statute or regulation;

pursuant to R. 4:42-9(a)(6), and pursuant to the equitable powers of the Court;

D. For costs of suit;
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E. For pre-judgment and post-judgment interest; and

F, For such other relief as the Court may deem to be proper and equitable,

in the interest of justice.

THIRD COUNT

BREACH OF THE IMPLIED COVENANT OF
GOOD FAITH AND FAIR DEALING

Plaintiff repeats all of the allegations set forth above, as if set forth verbatim and at
length herein.

By operation of law, the Employment Practices Liability Policy identified in Exhibit A
contains an implied covenant of good faith and fair dealing.

Defendant had a duty to apply the terms of the Policy in good faith to avoid denial of
coverage with respect to an Employment Practices Claim made against the College
during the Policy Period, but failed to do so.

The failure to provide coverage to a covered claim under the Policy constitutes a willful
failure and refusal to provide Plaintiff with the benefit of the bargain set forth in a
contract.

Defendant's material breach of the implied covenant of good faith and fair dealing has
caused the Plaintiff to suffer economic and material harm and will continue to cause
the Plaintiff to suffer economic and material harm in connection with the continued

litigation of the Civil Action,

WHEREFORE, Plaintiff Mercer County Community College demands and requests relief

as follows:

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A, The entry of a final judgment declaring that the Defendant, AIG Claims,
Inc., must defend and indemnify Mercer County Community College, Monise
Princilus and Dr. Mark Harris with respect to the Employment Practices Claim
asserted under CEPA in the Civil Action filed by Michael Flaherty against them in
the Superior Court of New Jersey, Mercer County, to the full extent of the Policy,
pursuant to N.J.S.A. 2A:16-50 to 62.

B. For the defense costs of the expenses and legal fees paid by Plaintiff in
connection with the litigation of the Action;

Cc. For a reasonable counsel fee pursuant to any pertinent statute or regulation,

pursuant to R. 4:42—9(a)(6), and pursuant to the equitable powers of the Court; 7

D. For costs of suit;
E. For pre-judgment and post-judgment interest; and
F, For such other relief as the Court may deem to be proper and equitable, in

the interest of justice.

FOURTH COUNT
DEFENDANT ACTED IN BAD FAITH BY READING THE POLICY TO

INTENTIONALLY DENY COVERAGE TO A COVERED CLAIM

47. Plaintiff repeats all of the allegations set forth above, as if set forth verbatim and at
length herein.

48. The “Relation Back” provision in Clause 5(b), Notice and Reporting, of the EPL
Coverage Section of the Policy, by its terms, applies so as to allow for coverage of

claims made “‘subsequent” to the Policy Period — after it has ended — that are related to

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claims made within the Policy Period, rather than as an exclusion of claims made prior
to the inception of the Policy Period.

Clause 3, Exclusions, of the EPL Coverage Section provides in paragraphs 2 and 3 for
exclusion of claims which arise out of or are related to the facts in a pending or prior
litigation, or as to which there was prior notice within the covered period of a policy.
This provision does not include an exclusion for claims asserted that relate back to a
claim made prior to the inception of the Policy.

Defendant knowingly, intentionally and in bad faith applied the terms of the “Relation
Back” provision in Clause 5(b}, Notice and Reporting, of the EPL Coverage Section of
the Policy contrary to its plain meaning so as to deny coverage of a covered claim made
during the Policy Period as if the “Relation Back” provision was an Exclusion.

The criminal act that was the subject of the Criminal proceedings concerned conduct
in the form of threats or coercion allegedly taken by Princilus against Goddard, which
acts are not Employment Practices Violations as defined in Clause 12 of the Policy,
whereas the retaliation that is the subject of the Civil Action concerns the imposition
of an adverse employment action allegedly taken by the College against Flaherty.
Defendant knowingly, intentionally and in bad faith applied the terms of the “Relation
Back” definition in Clause 5(b), Notice and Reporting, of the EPL Coverage Section
of the Policy contrary to its plain meaning so as to deny coverage of a covered claim
concerning an Employment Practices Violation made during the Policy Period.

The Civil Action filed by Flaherty is not a “Related Claim” to the criminal procedings
within the meaning of Clause 12, Definitions, of the EPL Coverage Section of the

Policy because the criminal proceedings reflect the actions taken by the Prosecutor’s

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Office to investigate claims of alleged criminal conduct, consisting of coercion and
threats against Goddard, which are not employment practices as defined under Clause
12, Definitions, of the EPL Coverage Section, and which are not, therefore, related to
the claim asserted in the Civil Action for retaliation against Flaherty with respect to his
terms and conditions of employment.

54. The Criminal proceedings were not related to the Civil Action because they did not
involve Employment Practices Violations as defined in Clause 12, Definitions, of the
EPL Coverage Section of the Policy, but instead concermed acts of threats and coercion

allegedly taken against Goddard.

WHEREFORE, Plaintiff Mercer County Community College demands and requests relief
as follows:

A. The entry of a final judgment declaring that the Defendant, AIG Claims,
Inc., must defend and indemnify Mercer County Community College, Monise
Princilus and Dr. Mark Harris with respect to the Employment Practices Claim
asserted under CEPA in the Civil Action filed by Michael Flaherty against them in
the Superior Court of New Jersey, Mercer County, to the full extent of the Policy,
pursuant to N.J.S.A. 2A:16-50 to 62.

B. For the defense costs of the expenses and legal fees paid by Plaintiff in
connection with the litigation of the Action;

C. For punitive damages;

D. For a reasonable counsel fee pursuant to any pertinent statute or regulation,
pursuant to R. 4:42-9(a)(6), and pursuant to the equitable powers of the Court;

E. For costs of suit;

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F, For pre-judgment and post- judgment interest; and
G. For such other relief as the Court may deem to be proper and equitable, in

the interest of justice.

ADAMS GUTIERREZ & LATTIBOUDERE, LLC
Attorneys for Plaintiff, Mercer County Community College

By: ‘s/ Sandro Polledri
SANDRO POLLEDRI, ESQ.

Dated: February 28, 2019

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RULE 4:5-1 AND RULE 1:38-7 b CERTIFICATIONS

Sandro Polledri, Esq., an attorney at law of the State of New Jersey, to the best of my
knowledge, information and belief, hereby certifies the following to be true, and, upon
my oath, depose and say:

There are no other civil actions or arbitrations pending in any other Court or forum,
between these parties.

The Plaintiff does not anticipate filing any other such civil actions.
There are no other parties to this action that the Plaintiff believes should be joined.

I certify that confidential personal identifiers have been redacted from documents now

submitted to the Court, and will be redacted frem all documents submitted in the future in
accordance with Rule 1: 38-7 (b).

6.

I certify that the foregoing statements made by me are true to the best of my knowledge,

information and belief I am aware that if any of the foregoing statements made by me are wilfully
false, I am subject to punishment,

/s/ Sandro Polledri
SANDRO POLLEDRI, ESQ.

Dated: February 28, 2019

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DESIGNATION OF TRIAL COUNSEL
The undersigned is designated as trial counsel in this matter.

ADAMS GUTIERREZ & LATTIBOUDERE, LLC
Attorneys for Plaintiff, Mercer County Community College

By: s/ Sandro Polledri
SANDRO POLLEDRI, ESQ.

Dated: February 28, 2019

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Cherie Lee Adams
Derlys Maria Gutierrez
Perry L. Lattiboudere

Adam S. Herman
Andrew B. Brown
Audra A. Pondish

 

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- GUTIERREZ & Sandro Poltledri William J. Volonte
Jerrold J. Wohlgemuth Leslie F. Prentice
John E. Croot, Jr. David Kalisky
THE LEGAL CENTER MARLTON OFFICE
1037 Raymond Bivd., 10000 Lincoln Drive East .
Suite 900 Suite 201
Newark, NJ 67102 Marlton, NJ 08053
973.735.2762 896.988,5488
March 11, 2019
VIA ECOURTS
Clerk
Superior Court of New Jersey
Mercer County
175 § Broad Street
Trenton, NJ 08608

Re: Mercer County Community College v. AIG Claims, Inc.
Docket No.: MER-L-417-19

Dear Sir/Madam:
This firm represents Plaintiff, Mercer County Community College in the above-referenced
matter, which was initiated on February 28, 2019. Enclosed for filing please find Exhibits A-B to

the Complaint, which were inadvertently omitted at the time of filing.

Thank you for your courtesies.
Very truly yours,

[if Sandro Potledri:
Sandro Polledri, Esq.

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EXHIBIT “A”

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EMPLOYMENT EDGE® EMPLOYMENT PRACTICES LIABILITY
("EPL Coverage Section")

Notice: Pursuant to Clause 1 of the General Terms and Conditions, the General Terms and
Conditions are incorporated by reference into, made a part of, and are expressly applicable to this
EPL Coverage Section, unless otherwise explicitly stated to the contrary in this EPL Coverage
Section.

In consideration of the payment of the premium, and each of their respective rights and obligations
in this policy, the Insureds and the Insurer agree as follows:

1. INSURING AGREEMENTS

All coverage granted for Loss under this Coverage Section is provided solely with respect to
Claims first made against an Insured during the Policy Period or any applicable Discovery Period
and reported to the Insurer as required by this Coverage Section, except to the extent coverage is
extended pursuant to the Claims Savings Clause of this Coverage Section to a Claim first made
prior to the Policy Period. Subject to the foregaing and the other terms, conditions and limitations
of this policy, this Coverage Section affords the following coverage:

A. Employment Practices Liability Coverage

This policy shall pay the Less of each and every Insured arising from a Claim made against
such Insured for any Employment Practices Violation.

B. Third Party Violation Coverage

This policy shall pay the Loss of each and every Insured arising from a Claim made against
such Insured for any Third Party Violation.

C. Wrongful internet Activity Coverage

This policy shall pay the Loss of an Organization arising from any Claim made against such
Organization for its actual or alleged tiability for any Wrongful Internet Activity of an Employee.

2. EXTENSIONS

A. First Dollar E-Discovery Consultant Services

For any Class Action Claim, no Retention shall apply to the first $25,000 in Defense Costs
incurred as E-Discovery Consultant Services.

B. Global Liberalization

For Loss from that portion of any Claim maintained in a Foreign Jurisdiction or to which the
law of a Foreign Jurisdiction is applied, the Insurer shall apply the terms and conditions of this
Coverage Section as amended to include those of the Foreign Policy in the Foreign Jurisdiction

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that are mere favorable to Insureds in the Foreign Jurisdiction. This G/oba/ Liberalization Clause
shall not apply to any provision of any policy that has worldwide effect, including but not
limited to any provision addressing limits of liability (primary, excess or sublimits), retentions,
other insurance, non-renewal, duty to defend, defense within or outside limits, taxes,
conformance to law or excess liability coverage, any claims made provisions, and any
endorsement to this policy that excludes or limits coverage for specific events or litigation or
that specifically states that it will have worldwide effect.

3. EXCLUSIONS

The Insurer shall net be liable to make any payment for Loss in connection with any Claim
made against an Insured:

(1) Conduet arising out of, based upon or attributable to any deliberate criminal or
deliberate fraudulent act by the Insured if established by any final,
non-appealable adjudication in any action or proceeding other than an
action or proceeding initiated by the Insurer to determine coverage
under the policy; provided, however, the Wrongful Act of an Insured
shall not be imputed to any other Insured for the purpose of
determining the applicability of this exclusion;

(2) Pending & Prior alleging, arising out of, based upon or attributable to, as of the
Litigation Continuity Date, any pending or prior: (a) litigation; or (b} EEOC
proceeding or investigation of which any Insured had notice; or
alleging or derived from the same or essentially the same facts as
alleged in such pending or prior litigation or proceeding or

investigation;

{3) Prior Notice alleging, arising out of, based upon or attributable to the facts alleged,
or to the same or related Wrongful Act alleged or contained in any
claim which has been reported, or in any circumstances of which
notice has been given, under any policy providing coverage in whole
or in part for Wrongful Acts which was in force prior to the Inception
Date of this policy;

14) Bodily Injury & for bodily injury {other than emotional distress or mental anguish),

Property Damage — sickness, disease, or death of any person, or damage to or destruction
of any tangible property, including the foss of use thereof;

{5) ERISA for any violation of responsibilities, obligations or duties imposed by
the Employee Retirement Income Security Act of 1974 (ERISA), as
amended, or any similar provisions of any state, local or foreign
statutory or common law;

(6) Compensation & {a} for any violation of responsibilities, obligations or duties imposed

Labor Liability by the Fair Labor Standards Act (except the Equal Pay Act)
(FLSA), the National Labor Relations Act {NLRA), the Worker
Adjustment and Retraining Notification (WARN) Act, the
Consolidated Omnibus Budget Reconciliation Act (COBRA), the
Occupational Safety and Health Act (OSHA), any rules or
regulations of the foregoing promulgated thereunder, and
amendments thereto or any similar federal, state, local or foreign
law or amendment to a law; or

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(b) alleging, arising out of, based upon or attributable to any of the
circumstances described in any of the following:

(i} the refusal, failure or inability of any Insured to pay wages or
overtime pay (or amounts representing such wages or
overtime pay} for services rendered or time spent in
connection with work related activities (as opposed to tort-
based back pay or front pay damages for torts other than
conversion);

(ii} improper deductions from pay taken by any Insured from any
Employee or purported Employee; or

(iii) failure to provide or enforce legally required meal or rest break
periods;
provided, however, the foregoing Exclusions 6{a}) and 6(b} shall not
apply to the extent that a Claim is for Retaliation;

(7) 8enefits for any obligation pursuant to any worker’s compensation, disability
benefits, unemployment compensation, unemployment insurance,
retirement benefits, social security benefits or similar law; provided,
however, this exclusion shall not apply to the extent that a Claim is
for Retaliation;

(8) Contract alleging, arising out of, based upon or attributable to any actual or
alleged contractual liability of an Insured under any express contract
or agreement; provided, however, that this exclusion shall not apply
to:

{i) liability which would have attached in the absence of such express
contract or agreement; or
{ii) Loss constituting Defense Costs; or

(9) Securities Claim alleging, arising cut of, based upon or attributable to any Claim
brought by any holder of securities representing the debt or equity of
the Organization or an Outside Entity, in their capacity as such,
whether directly, derivatively on behalf of the Organization or Outside
Entity.

4. RETENTION

In addition to the provisions in Clause 2. RETENTION of the General Terms and Conditions, in
no event shall a Retention be applied to the first $25,000 in Defense Costs incurred as E-
Discovery Consultant Services.

lf an Organization is unable to advance, pay or indemnify covered Loss of an Insured Person
within the applicable Retention amount due to Financial Insolvency, then the Insurer shall
advance such amounts on behalf of the Insured Person until either: (i) an Organization has
agreed to make such payments, or (ii} the Retention has been satisfied. In no event shall any
such advancement by the Insurer relieve any Organization of any duty it may have to provide
advancement, payment or indemnification to any Insured Person. The Insurer shall be entitled
to recover the amount of Loss advanced within the Retention from the Organization pursuant
to the subrogation provisions of this Coverage Section.

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5. NOTICE AND REPORTING

Notice hereunder shall be given in writing to the Insurer at the Claims Address indicated in the
Declarations. If mailed or transmitted by electronic mail, the date of such mailing or
transmission shall constitute the date that such notice was given and proof of mailing or
transmission shall be sufficient proof of notice.

(a) Reporting a Claim

(b} Relation Back to
the First Reported
Claim

ic} Claims Savings
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An Organization or an Insured shall, as a condition precedent to the
obligations of the Insurer under this Coverage Section, notify the
Insurer in writing of a Claim made against an Insured as soon as
practicable after the Named Entity’s Human Resources Manager, Risk
Manager or General Counsel for equivalent position) first becomes
aware of the Claim. In all events, notification must be provided no
later than sixty (60) days after the end of the Policy Period or the
Discovery Period (if applicable).

Solely for the purpose of establishing whether any subsequent
Related Claim was first made during the Policy Period or Discovery
Period (if applicable), if during any such period a Claim was first
made and reported in accordance with Clause 5{a) above, then any
Related Claim that is subsequently made against an Insured and that
is reported in accordance with Clause 5(a) above shall be deemed to
have been first made at the time that such previously reported Claim
was first made.

With respect to any subsequent Related Claim, this policy shall not
cover Loss incurred before such subsequent Related Claim is actually
made against an Insured and reported to the Insurer.

1. Notwithstanding Clause 5(b), with respect to any Claim which {i}
first becomes a Litigated Matter during the Policy Period or
Discovery Period (if applicable}; and (ji) is a Related Claim with
respect to an Administrative Claim which was first made against
an Insured prior to the Policy Period, the Insurer shall not deny
coverage for such Claim based upon late notice of such Claim or
based upon such Claim first being made prior to the Policy Period,
provided that:

{a} the Claim was first made against the Insured at a time during
which the Named Entity was insured under a Prior AIG Policy;

(b) upon the Claim first becoming a Litigated Matter, the Claim
was reported in accordance with Clause 5(a) above; and

(c) no Insured has made a monetary settlement offer to a claimant
or responded to a monetary demand from or on behalf of a
claimant with respect to such Claim.

2. Coverage under this Coverage Section for any Claim afforded
coverage pursuant to this Clause 5ic} shall be the lesser of:

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(d)} Relation Back to
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{a) the coverage which would have been provided under this
Coverage Section for such Claim had the Claim been made
during the Policy Period and reported to the Insurer as required
by this Coverage Section; or

{b) the coverage, if any, which would have been provided under
the Prior AIG Policy for such Claim if the Insured had properly
provided notice of such Claim in accordance with the
provisions of the Prior AIG Policy,

taking into account all provisions of each policy, including,
without limitation, applicable limits of liability (as reduced by
payments made under such policy), retentions, exclusions and
other restrictions contained in each policy.

Notwithstanding the foregoing, nothing in this Clause 5{c) shall be
construed to increase the Limits of Liability of this policy or to
provide coverage under the Prior AIG Policy, nor shall this Clause
5ic) ever result in providing coverage under this policy for Loss for
which coverage is in fact provided {or would be provided but for
the exhaustion of the limit of liability) under the Prior AIG Policy.

3. This Clause 5{c) shall not apply to any Claim which:
(a) prior to the Policy Period was a Litigated Matter; or

(b) is a Related Claim with respect to a Claim which prior to the
Policy Period was a Litigated Matter.

If during the Policy Period or Discovery Period (if applicable} an
Organization or an Insured Person becomes aware of and notifies the
Insurer in writing of circumstances that may give rise to a Claim
being made against an Insured and provides details as required
below, then any Claim that is subsequently made against an Insured
that arises from such circumstances and that is reported in
accordance with Clause 5(a) above shall be deemed to have been
first made at the time of the notification of circumstances for the
purpese of establishing whether such subsequent Claim was first
made during the Policy Period or during the Discovery Period {if
applicable). Coverage fer Loss arising from any such subsequent
Claim shall only apply to Loss incurred after that subsequent Claim is
actually made against an Insured and reported to the Insurer. In
order to be effective, notification of circumstances must specify the
facts, circumstances, nature of the alleged Wrongful Act anticipated
and reasons for anticipating such Claim, with full particulars as to
dates, persons and entities involved.

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6. DISCOVERY PREMIUM

In the event the Named Entity or the Insurer shall cancel or refuse to renew this Coverage
Section, the Additional Premium Amount for: (a) one year shall be no more than 125% of the
Full Annual Premium; and {b) two to six years shall be an amount to be determined by the
Insurer. As used herein, “Full Annual Premium” means the premium level in effect for this
Coverage Section immediately prior to the end of the Policy Period.

In the event of a Transaction, the Additional Premium Amount shall be an amount to be
determined by the Insurer.

7. DEFENSE AND SETTLEMENT

A. For Claims

(1) No Duty to Defend The Insureds shall defend and contest any Claim made against
them. The Insurer does not assume any duty to defend.

(2} Aight to Tender Notwithstanding the foregoing, the Insureds shall have the right to
Defense tender the defense of any Claim to the Insurer, which right shall be
exercised in writing by the Named Entity on behaif of all Insureds.
This right shalt terminate if not exercised within thirty (30} days of
the date the Claim is first made against an Insured. Further, from
the date the Ciaim is first made against the Insureds to the date
when the Insurer accepts the tender of the defense of such Claim,
the Insureds shall take no action, or fail to take any required
action, that prejudices the rights of the Insureds or the Insurer
with respect to such Claim. Provided that the Insureds have
complied with the foregoing, the Insurer shall be obligated to
assume the defense of the Claim, even if such Claim is groundless,
false or fraudulent. The assumption of the defense of the Claim
shall be effective upon written confirmation thereof sent by the
Insurer to the Named Entity. Once the defense has been so
tendered, the Insured shall have the right to effectively associate
with the Insurer in the defense and the negotiation of any
settlement of any Claim. However, the Insurer shall not be
obligated to defend such Claim after the Policy Aggregate or any
applicable Separate Limit of Liability or Shared Limit of Liability has
been exhausted, or after an Insured’s rejection (or failure or refusal
to accept within the time prescribed in the “Settlement
Opportunity” paragraph of this Clause 7) of a Settlement
Opportunity.

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(3) Advancement

{4) Claims Participation
and Cooperation

(5) Full Settlament
Within Retention/
Consent Waived

(6} Settlement
Opportunity

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When the Insurer has not assumed the defense of a Claim
pursuant to subparagraph (2) of this Clause 7, it shall advance,
excess of any applicable Retention, covered Defense Costs on a
current basis, but no later than ninety (90) days after the Insurer
has received itemized bills for those Defense Costs. Such advance
payments by the Insurer shall be repaid to the Insurer by each and
every Insured Person or Organization, severally according to their
respective interests, in the event and to the extent that any such
Insured Person or Organization shall not be entitled under this
Coverage Section to payment of such Loss.

When the Insurer has not assumed the defense of a Claim
pursuant to subparagraph (2) of this Clause 7, the Insurer shall
have the right, but not the obligation, to fully and effectively
associate with each and every Insured in the defense and
prosecution of any Claim that involves, or appears reasonably
likely to involve the Insurer, including, but not limited to,
negotiating a settlement. Each and every Insured shall give the
Insurer full cooperation and such information as it may reasonably
require.

The failure of any Insured Person to give the Insurer cooperation
and information as required in the preceding paragraph shall not
impair the rights of any other Insured Person under this Coverage
Section.

The Insureds shall not admit or assume any liability, enter into any

settlement agreement, stipulate to any judgment or incur any
Defense Costs, without the prior written consent of the Insurer.

_ Such consent shall not be unreasonably withheld,

If all Insured defendants are able to dispose of al! Claims which are
subject to one Retention (inclusive of Defense Costs) for an
amount not exceeding the Retention, then the Insurer’s consent
shall net be required fer such disposition.

In the event the Insureds do not consent to the first Settlement
Opportunity within thirty (30) days of the date the Insureds are
first made aware of the Settlement Opportunity (or in the case of
a Settlement Opportunity which arises from a settlement offer by
the claimant, then within the time permitted by the claimant to
accept such settlement offer, but in all events no later than thirty
(30) days after the settlement offer was made), then the Insurer’s
Hability for all Loss on account of such Claim shall not exceed: (a)
the amount for which the Insurer could have settled such Claim
plus Defense Costs incurred as of the date such settlement was
proposed in writing by the Insurer (“Settlement Opportunity
Amount”), plus (b} 70% of covered Loss in excess of such
Settlement Opportunity Amount, it being a condition of this
insurance that the remaining 30% of such Loss excess of the
Settlement Opportunity Amount = shall be carried by the

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Organization and the Insureds at their own risk and be uninsured.
Notwithstanding the foregoing, this paragraph shall not apply
unless the Settlement Opportunity Amount exceeds the remaining
applicable Retention amount.

Pre-Authorized Defense Attorneys For Designated Employment Practices Claims

The list of approved panel counsel taw firms ("Panel Counsel”) is accessible through the online
directory at http:/Mwww.aig.com/us/panelcounseldirectory under the “Public and Private
Companies {Employment Practices Liability)” link. The list provides a choice of law firms from
which a selection of legal counsel shall be made by the Insureds {or, in the event the Insurer
has assumed the defense pursuant to Clause 7.A(2) of this Coverage Section, the Insurer) to
conduct the defense of any Designated Employment Practices Claim made against the
Insureds.

With the express prior written consent of the Insurer, an Insured may select a Panel Counsel
different from that selected by another Insured defendant if such selection is required due ta
an actual conflict of interest or is otherwise reasonably justifiable. The list of Panel Counsel
may be amended from time to time by the Insurer. However, if a firm is removed from the list
during the Policy Period, the Insureds shall be entitled to select such firm to conduct the
defense of any Designated Employment Practices Claim made against such Insureds during the
Policy Period.

The Insureds (or, in the event the Insurer has assumed the defense pursuant to Clause 7.A of
this Coverage Section, the Insurer) shall select a Panel Counsel to defend the Designated
Employment Practices Claim made against the Insureds in the jurisdiction in which the
Designated Employment Practices Claim is brought. In the event the Claim is brought in a
jurisdiction not included on the list, Panel Counsel shall be selected in the listed jurisdiction
which is the nearest geographic jurisdiction to either where the Designated Employment
Practices Claim is brought or where the corporate headquarters of the Named Entity is located.
in such instance the Insureds also may, with the express prior written consent of the Insurer,
which consent shall not be unreasonably withheld, select a non-Panel Counsel in the
jurisdiction in which the Designated Employment Practices Claim is brought to function as
“local counsel” on the Claim to assist the Panel Counsel which will function as “lead counsel”
in conducting the defense of the Designated Employment Practices Claim.

Pre-Approved E-Consuiltant Firms

The list of pre-approved E-Consultant Firms is accessible through the online directory at
http: //www.aig.com/us/panelcounseldirectory under the “e-Consultant Panel Members” link.

 

The list provides the Insureds with a choice of firms from which a selection of an E-Consultant
Firm shall be made. Any E-Consultant Firm may be hired by an Insured to perform E-Discovery
Consultant Services without further approval by the Insurer.

. SUBSIDIARY COVERAGE

Subsidiary Additions

In addition to the definition of “Subsidiary” set forth in Clause 12. DEFINITIONS of this
Coverage Section, Subsidiary also means any for-profit entity: (1) of which the Named Entity
first had Management Control during the Policy Period, whether directly or indirectly through
one or more other Subsidiaries; and {2) whose:

{a) total number of Employees is less than the lesser of: (i) 20% of the total Employees of each
and every Organization as of the Inception Date of this policy; or {ii} five hundred (500); or

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(b) total number of Employees does not satisfy the criteria set forth in subparagraph (a), above,
but such entity shall be a “Subsidiary” only: {i) for a period of sixty (60) days from the date
the Named Entity first had Management Contrel of such entity; or (ii) until the end of the
Policy Period, whichever expires or ends first (the “Auto-Subsidiary Period”);

provided that, with respect only to entities described in subparagraph (b) above, the Named
Entity or any other Insured shall report such Subsidiary to the Insurer, in writing, prior to the
end of the Policy Period.

The Insurer shall extend coverage for any Subsidiary described in subparagraph (b) above, and
any Insured Person thereof, beyond its respective Auto-Subsidiary Period if during such Auto-
Subsidiary Period, the Named Entity shall have provided the Insurer with full particulars of the
new Subsidiary and agreed to any additional premium and amendment of the provisions of this
policy required by the Insurer relating to such Subsidiary. Further, coverage as shall be
afforded to any Subsidiary and any Insured Person thereof is conditioned upon the Named
Entity paying when due any additional premium required by the Insurer relating to such
Subsidiary.

. Former Subsidiaries

In the event the Named Entity loses Management Control of a Subsidiary during or prior to the
Policy Period, coverage with respect to such Subsidiary and its Insured Persons shall continue
until termination of this policy but only with respect to Claims for Wrongful Acts that occurred
or are alleged to have occurred during the time that the Named Entity had Management Control
of such entity either directly or indirectly through one or more of its Subsidiaries.

. Scope Of Subsidiary Coverage

Coverage as is afforded under this Coverage Section with respect to a Claim made against any
Subsidiary and/or any Insured Person thereof shall only apply for Wrongful Acts committed or
allegedly committed during the time that such Subsidiary and such Insured Person meet the
respective definitions of Subsidiary and Insured Person set forth in this Coverage Section.

. APPLICATION AND UNDERWRITING
. Application And Reliance

The Insurer has relied upon the accuracy and completeness of the statements, warranties and
representations contained in the Application. All such statements, warranties and
representations are the basis for this Coverage Section and are to be considered as
incorporated into this Coverage Section.

. Severability Of The Application

The Application shall be construed as a separate application for coverage by each Insured
Person, With respect to the Application, no knowledge possessed by any Organization cr any
Insured Person shall be imputed to any other Insured Person.

If the statements, warranties and representations in the Application were not accurate and
complete and materially affected either the acceptance of the risk or the hazard assumed by
the Insurer under this Coverage Section, then the Insurer shall have the right to void coverage
under this Coverage Section, ad initio, with respect to:

(1) Loss of any Insured Person who knew, as of the inception date of the Policy Period, the facts

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that were not accurately and completely disclosed; and

(2} Loss of an Organization, if any Insured Person who is or was a chief executive officer,
general counsel, director of human resources or risk manager (or equivalent position) of the
Named Entity knew, as of the inception date of the Policy Period, the facts that were not
accurately and completely disclosed.

The foregoing applies even if the Insured Person did not know that such incomplete or
inaccurate disclosure had been provided to the Insurer or included within the Application.

10. PAYMENTS AND OBLIGATIONS OF ORGANIZATIONS AND OTHERS

A. Other insurance And Indemnification

Unless expressly written to be excess over other applicable insurance, it is intended that the
insurance provided by this Coverage Section shall be primary.

In the event a Claim is made against an Outside Entity Executive, or a Claim is made against an
Insured for the Insured’s liability with respect to a leased Employee or independent contractor
Employee as described in the definition of “Employee”, coverage as is afforded by this
Coverage Section shall be specificaily excess of any: (a) indemnification provided by such
Outside Entity or leasing company; and (b) any other insurance provided to such Outside
Entity, teasing company or independent contractor.

. Subrogation

To the extent of any payment under this Coverage Section, the Insurer shall be subrogated to
all of the Organizations’ and Insureds’ rights of recovery. Each Organization and each Insured
Person shall execute all papers reasonably required and provide reasonable assistance and
cooperation in securing or enabling the Insurer to exercise subrogation rights or any other
rights, directly or in the name of the Organization or any Insured Person.

In the event that the Insurer shall for any reason pay Loss on behalf of an Insured Person, the
Insurer’s subrogation rights shall include, but not be limited to, the assertion of indemnification
or contribution rights with respect to any such payments it makes or advances. Additionally,
upon the Insurer making any payment of Loss within the Retention on behalf of any Insured,
the Insurer shall have a direct contractual right under this policy to recover from the
Organization, or in the event of the bankruptcy of the Organization, from the debtor-in-
possession (or equivalent status outside the United States) such Loss which was paid within
the Retention. Such direct contractual right of recovery against the Organization shall be in
addition to and independent of the Insurer’s subrogation right pursuant to this Clause 10.B and
any other rights the Insurer may have under applicable law.

In no event, however, shall the Insurer exercise its rights of subrogation against an Insured
under this Coverage Section unless the Conduct Exclusion applies with regard to such Insured;
provided, however, this sentence shall not apply to subrogation against the Organization as
described in the second paragraph of this Clause 10.B.

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11. ALTERNATIVE DISPUTE RESOLUTION

ADR Options

Mediation

Arbitration

ADR Process

115486 (6/13)

All disputes or differences which may arise under or in connection with
this Coverage Section, whether arising before or after termination of
this policy, including any determination of the amount of Loss, shall be
submitted to an alternative dispute resolution (ADR) process as
provided in this Clause. The Named Entity may elect the type of ADR
process discussed below; provided, however, that absent a timely
election, the Insurer may elect the type of ADR. In that case, the
Named Entity shall have the right to reject the Insurer’s choice of the
type of ADR process at any time prior to its commencement, after
which, the Insured’s choice of ADR shall control.

in the event of mediation, either party shall have the right to
commence a judicial proceeding; provided, however, that no such
judicial proceeding shall be commenced until the mediation shall have
been terminated and at least ninety (90) days shall have elapsed fram
the date of the termination of the mediation.

In the event of arbitration, the decision of the arbitrator(s) shall be
final, binding and provided to both parties, and the arbitration award
shail not include attorney’s fees or other costs.

Selection .of Arbitrator(s} or Mediator: The Insurer and the Named
Entity shall mutually consent to: {i} in the case of arbitration, an odd
number of arbitrators which shall constitute the arbitration panel, or {ii}
in the case of mediation, a single mediator. The arbitrator, arbitration
panel members or mediator must be disinterested and have knowledge
of the legal, corporate management, or insurance issues relevant to the
matters in dispute. In the absence of agreement, the Insurer and the
Named Entity each shall select one arbitrator, the two arbitrators shall
select a third arbitrator, and the panel shall then determine applicable
procedural rules.

ADR Rules: In considering the construction or interpretation of the
provisions of this policy, the mediator or arbitrator(s) must give due
consideration to the general principles of the law of the State of
Formation of the Named Entity. Each party shall share equally the
expenses of the process elected. At the election of the Named Entity,
either choice of ADR process shall be commenced in New York, New
York; Atlanta, Georgia; Chicago, Illinois; Denver, Colorado; or in the
state reflected in the Named Entity Address. The Named Entity shall
act on behalf of each and every Insured under this Afternative Dispute
Resolution Clause. |In all other respects, the Insurer and the Named
Entity shall mutually agree to the procedural rules for the mediation or
arbitration. In the absence of such an agreement, after reasonable
diligence, the arbitrator{s) or mediator shall specify commercially
reasonable rules.

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12. DEFINITIONS

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The following definitions shall apply only for purposes of coverage provided under this Coverage
Section. Terms appearing in bold in this Coverage Section but not defined herein shall have the
meaning and/or value ascribed to them in the Declarations or in the Definitions Clause of the
General Terms and Conditions.

Administrative

Claim

Application

Claim

115486 (6/13)

means an administrative or regulatory investigation:

(1} by the EEOC; or

(2} of a violation of the Uniformed Services Employment and Reemployment
Rights Act, when such investigation is conducted by the United States
Department of Labor, Veterans Employment and Training Service,
Justice Department or Office of Special Counsel;

which, in either case, is commenced by the filing of a notice of charges or
similar document of which notice has been given to an Insured.

The term “Administrative Claim" shall not mean or include any Litigated

Matter.

means:

{1} the written statements and representations made by an ‘Insured and
provided to the Insurer during the negotiation of this policy, or
contained in any application or other materials or information provided
to the Insurer in connection with the underwriting of this policy; and

(2) all warranties executed by or on behalf of an Insured and provided to
the Insurer in connection with the underwriting of this policy or the
underwriting of any other employment practices (or equivalent) liability
policy issued by the Insurer, or any of its affiliates, of which this policy
is a renewal, replacement or which it succeeds in time.

means:

{1) a written demand for monetary, non-monetary or injunctive relief,
including, but not limited to, any demand for mediation, arbitration or
any other alternative dispute resolution process, or any request to toll or
waive the statute of any limitations;

(2) a civil, criminal, administrative, regulatory or arbitration proceeding for
monetary, non-monetary or injunctive relief which is commenced by: (a)
service of a complaint or similar pleading; (b) return of an indictment,
information or similar document {in the case of a criminal proceeding);
or (c) receipt or filing of a notice of charges;

(3) an administrative or regulatory investigation by the EEOC, which is
commenced by the filing of a notice of charges, service of a complaint
or similar document of which notice has been given to an Insured; or

(4) an administrative or regulatory investigation of violations of the
Uniformed Services Employment and Reemployment Rights Act when
such investigation is conducted by the United States Department of
Labor, Veterans Employment and Training Service, Justice Department

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EPL COVERAGE SECTION

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Class Action Claim

Class Action
Retention

Defense Costs

Designated
Employment
Practices Claim

EEOC

Employee

Employment
Practices Violation

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or Office of Special Counsel and is commenced by the filing of a notice
of charges, service of a complaint or similar document of which notice
has been given to an Insured.
However, in no event, shall the term “Claim” include any labor or grievance
proceeding which is subject to a collective bargaining agreement.
means any Claim brought: {1} by or on behalf of an actual or alleged class
(whether or not certified as such); or (2) by the EEOC on behalf of any
group of three or more complainants, plaintiffs or potentially aggrieved
parties.

means the Retention applicable to Loss that arises out of a Class Action
Claim.

means reasonable and necessary fees, costs and expenses consented to by
the Insurer (including the cost of E-Discovery Consultant Services and
premiums for any appeal bond, attachment bond or similar bond arising out
of a covered judgment, but without any obligation to apply for or furnish
any such bond) resulting solely from the investigation, adjustment, defense
and/or appeal of a Claim against an Insured. Defense Costs shall not include
the compensation of any Insured Person.

means a Claim: (1) alleging discrimination or Retaliation; or (2) that is a
Class Action Claim.

means the Equal Employment Opportunity Commission, or any similar state,
local or foreign agency.

means any past, present or future employee, whether such employee is in a
supervisory, co-worker or subordinate position or otherwise, including any
full-time, part-time, seasonal and temporary employee, in his or her
capacity as such, An individual who is leased to the Organization or is
contracted to perform work for the Organization, or who is an independent
contractor for the Organization, shall also be an Employee.

means any actual or alleged:

{1} wrongful dismissal, discharge or termination (either actual or
constructive) of employment, including breach of an implied contract;

(2) harassment {including workplace bullying, sexual harassment whether
“quid pro quo”, hostile work environment or otherwise, including
“same-sex” sexual harassment);

(3) discrimination (including, but not limited to, discrimination based upon
age, gender, gender identity or expression, race, color, national origin,
religion, sexual orientation or preference, genetic information,
pregnancy, military status, employment status or disability};

(4) Retaliation;

(5) employment-related misrepresentation(s) to an Employee of any
Organization;

(6) employment-related libel, slander, humiliation, defamation or invasion
of privacy;

13 of 17
EPL COVERAGE SECTION

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Financial
Insolvency

Foreign Policy

Insured

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(7} false arrest or false imprisonment;
(8) wrongful failure to employ or promote;

(9) wrongful deprivation of career opportunity, wrongful demotion or
negligent Employee evaluation, including the giving of negative or
defamatory statements in connection with an employee reference;

(40) wrongful discipline;

{11) failure to grant tenure; or

(12) with respect to any of the foregoing items (1) through {11) of this
definition: negligent hiring, retention, training or supervision, infliction
of emotional distress or mental anguish, failure to provide or enforce
adequate or consistent corporate policies and procedures, or violation
of an individual's civil rights;

but only if the Employment Practices Violation relates to an Employee of or

an applicant for employment with an Organization or an Outside Entity,

whether committed directly, indirectly, intentionally or unintentionally.

means any:

(1} past, present and future duly elected or appointed director, officer,
trustee or governor of a corporation, management committee member of
a joint venture or member of the management board of a limited liability
company (or equivalent position}, in his or her capacity as such; and

(2) past, present and future person in a duly elected or appointed position
in an entity organized and operated in a Foreign Jurisdiction that is
equivalent to an executive position listed in subparagraph {1} above, or
a member of the senior-most executive body (including, but not limited
to, a supervisory board), in his or her capacity as such.

means: (1) the appointment by any government official, agency,
commission, court or other governmental authority of a_ receiver,
conservater, Jiquidator, trustee, rehabilitator or similar official to take
control of, supervise, manage or liquidate an insolvent Organization; {2) the
filing of a petition under the bankruptcy laws of the United States of
America; or (3), as to both (1) or (2), any equivalent events outside the
United States of America.

means the standard employment practices fiability policy (including all
mandatory endorsements, tf any) approved by the Insurer or any of its
affiliates to be sold within a Foreign Jurisdiction that provides coverage
substantially similar to the coverage afforded under this Coverage Section.
If more than one such policy exists, then “Foreign Policy” means the
standard basic policy form most recently offered for sale for comparable
risks by the Insurer or any of its affiliates in that Foreign Jurisdiction.

means any:
{1) Insured Person; or

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EPL COVERAGE SECTION

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insured Person

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Loss

Management
Control

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(2) Organization.
means any:
(1) Executive of an Organization;

(2) Employee of an Organization; provided, hawever, an individual who is
leased to the Organization or is contracted to perform work for the
Organization, or who is an independent contractor for the Organization,
shall be an Insured Person only if the Organization provides
indemnification to such individual in the same manner as is provided to
the Organization’s employees; or

{3} Outside Entity Executive.

means any civil, criminal, administrative, regulatory or arbitration
proceeding for monetary, non-monetary or injunctive relief which is
commenced by: (1) service of a complaint or similar pleading; or (2) return
of an indictment, information or similar document (in the case of a criminal
proceeding).

means damages, settlements, judgments (including back pay and front pay,
pre/post-judgment interest on a covered judgment}, and Defense Costs;
however, “Loss” shall not include: (1} civil or criminal fines or penalties; (2}
taxes; (3) any amounts for which an Insured is not financially liable or
which are without legal recourse to an Insured; (4) employment-related
benefits, stock options, perquisites, deferred compensation or any other
type of compensation other than salary, wages or bonus compensation; (5)
any liability or costs incurred by any Insured to modify any building or
property in order to make said building or property more accessible or
accommodating to any disabled person; or any liability or costs incurred in
connection with any educational, sensitivity or other corporate program,
policy or seminar relating to a Claim alleging discrimination or other
Wrongful Act; and (6) matters which may be deemed uninsurable under the
law pursuant to which this policy shall be construed. Defense Costs shall
be provided for items specifically excluded from Loss pursuant to
subparagraphs (1) through (6) above of this Definition, subject to the other
terms, conditions and exclusions of this policy.

Loss shall specifically include (subject to this policy’s other terms,
conditions and limitations, including but not limited to the Conduct
Exclusion), punitive, exemplary and multiple damages {including the
multiple or liquidated damages awards under the Age Discrimination in
Employment Act and the Equal Pay Act). Enforceability of this paragraph
shall be governed by such applicable law that most favors coverage for
such penalties and punitive, exemplary and multiple damages.

Loss shall also include any attorney fees awarded to a prevailing plaintiff's
counsel pursuant to a covered judgment against an Insured or which the
Insurer has agreed to pay as part of a covered settlement of a Claim
against an Insured.

means:

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Outside Entity
Executive

Prior AIG Policy

Related Claim

Retaliation

115486 (6/13)

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(1} owning interests representing more than 50% of the voting,
appointment or designation power for the selection of a majority of: the
Board of Directors of a corporation; the management committee
members of a joint venture; or the members of the management board
of a limited liability campany; or

(2) having the right, pursuant to written contract or the by-laws, charter,
operating agreement or similar documents of an Organization, to elect,
appoint or designate a majority of: the Board of Directors of a
corporation; the management committee of a joint venture; or the
management board of a limited liability company.

means any: (1) not-for-profit entity; or (2) other entity listed as an “Outside
Entity” in an endorsement attached to this Coverage Section.

means any: (1) Executive or Employee of an Organization who is or was
acting at the specific request or direction of an Organization as an
Executive of an Outside Entity, in his or her capacity as such; or (2) any
ether person listed as an Outside Entity Executive in an endorsement
attached to this Coverage Section, in his or her capacity as such.

In the event of a disagreement between the Organization and an Outside
Entity Executive as to whether such Insured was acting “at the specific
request or direction of the Organization,” this Coverage Section shalf abide
by the determination of the Organization on this issue and such
determination shall be made by written notice to the Insurer within ninety
(90} days after the Claim against such Outside Entity Executive is made. In
the event no notice of any such determination is given to the Insurer within
such period, this Coverage Section shall apply as if the Organization
determined that such Outside Entity Executive was not acting at the
Organization's specific request or direction.

means a valid and collectible employment practices liability policy providing
substantially the same or similar coverage as is provided by this Coverage
Section, issued to the Name Entity by the Insurer (or any other insurance
company affiliate thereof}, of which this Coverage Section is a continuous
renewal.

means a Claim alleging, arising out of, based upon or attributable to any
facts or Wrongful Acts that are the same as or related to those that were
alleged in another Claim made against an Insured.

means a retaliatory act of an Insured alleged to be in response to the actual
or attempted exercise by an Employee of the Organization or an Outside
Entity of any right that such Employee has under law, including, without
limitation, any of the following activities: (1} the disclosure or threat of
disclosure by an Employee of the Organization or an Outside Entity to a
superior or to any governmental agency of any act by an Insured which act
is alleged to be a violation of any federal, state, local or foreign law,
common or statutory, or any rule or regulation promulgated thereunder; (2)
the exercise of rights under worker's compensation laws, the Famity and
Medical Leave Act, the Americans with Disabilities Act or any other law

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Settlement
Opportunity

Subsidiary

Third-Party
Violation

Third Party
Retention

Wrongful Act

Wrongful Internet
Activity

115486 (6/13)

relating to employee rights; (3) the filing of any claim under the Federal
False Claims Act or any other federal, state, local or foreign “whistle-
blower” law; or (4) strikes of an Employee of the Organization or an
Outside Entity.

means an Insurer recommended settlement that is within the Policy
Aggregate and the applicable Separate Limit of Liability or Shared Limit of
Liability, and that is acceptable to the claimant.

means:
(1) any for-profit entity of which the Named Entity has or had Management

Control on or before the Inception Date of the policy either directly or
indirectly through one or more of its other Subsidiaries; and
(2) any not-for-profit entity sponsored exclusively by an Organization.
A for-profit entity ceases to be a Subsidiary when the Named Entity no
longer maintains Management Control of such entity either directly or
indirectly through one or more of its Subsidiaries. A not-for-profit entity
ceases to be a Subsidiary when such entity is no longer sponsored
exclusively by an Organization.

means any actual or alleged harassment or unlawful discrimination, as
described in subparagraphs (2) and (3) of the definition of Employment

Practices Violation, or the violation of the civil rights of an individual

relating to such harassment or discrimination, when such acts are alleged
to be committed against any individual other than an Insured Person or
applicant for employment with the Organization or with an Outside Entity,
including, but not limited to, students, patients, members, customers,
vendors and suppliers.

means the Retention applicable to Loss that arises out of any Third-Party
Violation alleging a Third-Party Violation.

means any Employment Practices Violation, Third-Party Violation or
Wrongful Internet Activity.

means any actual or alleged:

(1} Employment Practices Violation alleged by an Employee; or

(2) Third Party Violation,

when committed by an Employee by means of the internet, including, but
not limited to, social networking activities, regardless of whether such
internet activity is during or after work hours or on or off the work
premises. For purposes of the application of this definition, an individual
shall be deemed to be an Employee regardless of whether such individual
was acting in his or her capacity as an Employee.

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EXHIBIT “B”

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Zatuchni & Associates, LLC
287 South Main Street

(Route 29)

Lambertville, New Jersey 08530
(609) 243-0300

Attorneys for Plaintiff

 

ID# 007811997
MICHAEL FLAHERTY, SUPERIOR COURT OF NEW JERSEY
LAW DIVISION
Plaintiff, MERCER COUNTY
DOCKET NO.:
v.
CIVIL ACTION

MERCER COUNTY COMMUNITY
COLLEGE; MONISE PRINCILUS; MARK COMPLAINT AND JURY DEMAND
HARRIS,

Defendants.

 

 

Plaintiff Mark Flaherty, by way of Complaint against Defendants Mercer County

Community College, Monise Princilus, and Mark Harris, states and alleges as follows:
PARTIES

1. Plaintiff Michael Flaherty is a natural person residing at 277 Manor Boulevard,
Yardville, NJ 08620. Mr. Flaherty is currently employed by Defendant Mercer County
Community College as the Commanding Officer for College Safety and Security.

2. Defendant Mercer County Community College (hereafter “MCCC”) is a two-year
public community college located at 1200 Old Trenton Road, West Windsor Township, New
Jersey 08550.

| 3,  Atall relevant times, Defendant Monise Princilus was Executive Director of
Human Resources and Compliance for MCCC. Upon information and belief, Ms. Princilus

resides in New Jersey.

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4. Atall relevant times, Defendant Mark Harris was Vice President for Finance and

Administration for MCCC. Upon information and belief, Mr. Harris resides in New Jersey.
INTRODUCTION

5. Defendants maliciously targeted Plaintiff Michael Flaherty because he was a
whistleblower regarding MCCC's ongoing violations of federal law governing the reporting and
disclosure of crimes committed on campus and also disclosures and investigations of federal
Title IX violations.

6. Defendants engaged in this malicious targeting in an especially egregious manner.
Defendants threatened and strong-armed a subordinate female employee into making a
knowingly false complaint of sexual harassment against Mr. Flaherty, even though the female
employee explicitly stated that she did not want to do so. Defendants threatened the female
employee into making a false complaint against Mr. Flaherty by telling her that MCCC would
not investigate another sexual harassment complaint the female employee previously made
against a co-worker unless she also made a complaint and implicated Mr. Flaherty in
inappropriate sexual conduct.

7. Defendants engaged in this outrageous and malicious conduct with the purpose of
fashioning a pretext to terminate Mr. Flaherty and/or to destroy his reputation in retaliation for
his protected conduct and to put a stop to Mr. Flaherty's whistleblowing.

8. Defendants’ unlawful and tortious scheme to target Mr. Flaherty through a false
complaint of sexual harassment by a subordinate obtained by threats was only discovered when
the female employee ultimately came forward and disclosed what had in fact occurred.

BACKGROUND FACTS
9. Plaintiff Michael Flaherty served for over twenty-three (23) years with the Trenton

Police as both an officer and an investigator, attaining the rank of Captain. He holds two

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associates’ degrees in Criminal Justice and has decades of experience in conducting criminal
investigations.

10. In or around 2011, Mr. Flaherty was hired by MCCC as Commanding Officer for
College Safety and Security. As Commanding Officer, Mr. Flaherty is responsible for
overseeing and managing campus security operations, including security staff. Among many
other duties, Mr. Flaherty is responsible for conducting investigations and maintaining and
reporting security-related records in compliance with state and federal] law.

11. Mr. Flaherty's direct supervisor was Director of College Safety Bryon Marshall.

12. At all relevant times, Mr. Flaherty performed his job in an exemplary fashion,
eaming consistent superior performance reviews from Mr. Marshall. Until the unlawful
retaliation alleged below, Mr. Flaherty was never subject to reprimand or discipline.

13. Upon his hiring, Mr. Flaherty assumed the duties of MCCC's Title IX Investigator.
In this role, Mr. Flaherty was responsible for investigating student complaints of sexual
misconduct, sexual harassment, and gender-related violence, as well as complaints of
harassment, violence or discrimination based upon a protected class such as race. In support of
this role, Mr. Flaherty attended investigative training conducted by the Association of Title IX
Administrators.

14. Upon his hiring, Mr. Flaherty also assumed the responsibility of maintaining and
reporting campus crime data in accordance with the federal Jeanne Clery Disclosure of Campus
Security Policy and Campus Crime Statistics Act (the "Clery Act"). In support of this role, Mr.
Flaherty attended training conducted by the Clery Center for Security on Campus. He also
assisted the then-Executive Director of Human Resources and MCCC's official Clery
Compliance Officer, Jose Fernandez, in the preparation of the mandatory Annual Security Report

("ASR") for submission to the United States Department of Education.

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15. The ensuing years brought significant staff changes at the administrative level at
MCCC. In 2015, Dr. Hanping Wang became the new President of MCCC. In or around January
of 2016, Mark Harris became VP of Finance and Administration, making Dr. Harris the head of
MCCC's Human Resources Division.

16, Finally, in or around the Spring of 2016, Jose Fernandez resigned as the Executive
Director of Human Resources. MCCC subsequently hired Sally Mercer to replace Mr.
Fernandez in or around June or July of 2016.

MR. FLAHERTY REPORTS AND COMPLAINS OF DEFICICIENCIES IN
MCCC'S CLERY and TITLE IX COMPLIANCE

17. In or around the Summer or early Fall of 2016, Mr. Flaherty became aware that
MCCC was not in compliance with certain requirements for its 2016 Clery ASR. Mr. Flaherty
brought this fact to the attention of Dr. Harris and Ms. Mercer on more than one occasion in the
Summer of 2016. He also brought it to the attention of President Wang, Dr. Harris, and Ms.
Mercer in a meeting held in the first half of September 2016, during which the preparation of the
ASR was discussed.

18. During the meeting, Mr. Flaherty communicated his reasonable belief that MCCC
was in violation of certain Clery Act requirements, including, but not limited to, those involving
the reporting of crime data, as well as education for students and staff regarding campus security
and the prevention and awareness of sex offenses.

19. Mr. Flaherty made clear to al! present that, although he would continue to assist Ms.
Mercer in the preparation of the annual Clery Report, it was Ms. Mercer (like Mr. Hernandez
before her) who was MCCC's official Clery Compliance Officer and who thus bore final

responsibility for the report. Mr. Flaherty stated that the report had to be honest and truthful.

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20. Mr. Flaherty further explained to al} present that his certification in the Clery Act
was due to expire, and that given the significant changes the US Department of Education had
recently made to the Act, he could not possibly assume the duties of Clery Compliance Officer
without additional training.

21. MCCC, however, ignored the reports and complaints of Clery Act violations raised
by Mr. Flaherty during the September 2016 meeting, as well as subsequently. Although Mr.
Flaherty made requests for the necessary training to renew his Clery Act certification, they were
denied by Dr. Harris.

22. Additionally, shortly after the September 2016 meeting, Ms. Mercer abruptly
resigned, leaving the Executive Director of Human Resources position vacant. The position was
to remain vacant through the end of 2016. In the interim, Dr. Harris assumed Ms. Mercer's
responsibilities, including those as Clery Compliance Officer.

23. In November of 2016, Mr. Flaherty received a letter from Anthony Simeone, a
Clery Compliance Specialist with the US Department of Education (the "DoE"). In his letter,
Mr. Simeone stated that the DoE had reviewed MCCC's 2016 ASR and found it non-compliant
with the Clery Act due to, among other violations, deficiencies in the reporting of certain crime
data, as well as "information regarding the type and frequency of educational opportunities for
students and employees about campus security... and programs designed to increase awareness
of sex offenses." These were the same deficiencies Mr. Flaherty had reported to the
administration in September of 2016.

24. On or around November 17, 2016, Mr. Flaherty attended a meeting to discuss the
DoE's audit of the ASR and the deficiencies described in Mr. Simeone's letter. Also in
attendance were President Wang, Director of College Safety Bryon Marshall, Vice President for

Student Affairs Diane Campbell, and Dr. Harris.

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25. Shortly thereafter, Mr. Flaherty sent an email to President Wang memorializing the
preceding events and stating: "[The DoE has] found several areas of non-compliance in our
Clery report. I suspect these areas are the issues I brought forth to Sally Mercer and Dr. Harris
back in August and September. We then meet [sic] with you on 9-11-16 and I again voiced my
concerns... I] spoke openly with Dr. Harris, Sally Mercer and yourself and J informed you that
we were lacking in areas . . . [the DoE] is giving us until 11-30-16 to correct these issues and I do
not have the expertise or the authority to institute these changes.”

26. Contemporaneously, Mr. Flaherty relayed his concerns about MCCC’s multiple
violations of Clery Act requirements, as we}] as of Title IX, to Union representative Peter
Fretwell. In November and December of 2016, both Mr. Fretwell and Mr. Flaherty
communicated with each other and to DoE officials regarding MCCC's lack of compliance with
both the Clery Act and Title IX.

27. Inor around December of 2016, MCCC hired Monise Princilus to replace Jose
Fernandez as Executive Director of Human Resources. Ms. Princilus was to begin work on
January 1, 2017. Ms. Princilus was hired despite having no certification, training or depth of
experience in Title [X or the Clery Act.

28. Also in early January 2017, Mr. Flaherty met Ms. Princilus for the first time, in the
presence of Director Marshall. Ms. Princilus told Mr. Flaherty, quite brusquely, "I don't like
lawyers and J don't like cops."

THE ADAM WOOLF INCIDENT

29. On or around February 7, 2017, student Adam Woolf, a registered sex offender,
posed as a MCCC employee and thereby lured minors into a shower, where he exposed himself
to them. Both the Division of College Safety and Security and the local West Windsor Police

Department were involved in apprehending Woolf and in investigating the incident.

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30. The next day, February 8, 2017, Mr. Flaherty met with Dr. Harris and expressed his
reasonable belief that unless MCCC immediately issued a Timely Warning regarding the Wolff
incident to the campus community, MCCC would violate the Clery Act and/or Title EX.
However, neither Dr. Harris nor any other administrator issued a Timely Warning at that time.

31. In fact, MCCC did not ultimately issue a statement regarding the incident until days
later, and only after receiving multiple press inquiries and press coverage, including news
articles questioning whether the failure to report the incident was in fact a Clery Act violation.

JENNIFER GODDARD'S COMPLAINT OF SEXUAL HARASSMENT AGAINST
CO-WORKER MARTIN MORENO

32. Onor around December 29, 2016, while MCCC was closed for winter break, Mr.
Flaherty received a complaint of harassment from one of his security officers, Jennifer Goddard.
Specifically, Ms. Goddard informed Mr. Flaherty that another security officer, Martin Moreno,
had texted her an inappropriate sexual request during the evening. Mr. Flaherty responded that
he would fully investigate Ms. Goddard's complaint when all parties involved had returned to
work shortly after the New Year.

33. On or around January 3, 2017, Mr. Flaherty conducted his investigation into Ms.
Goddard's complaint against Mr. Moreno. After interviewing the parties and examining all
relevant evidence, Mr. Flaherty concluded his investigation. As stated in his findings, he was
unable to definitively determine that Mr. Moreno in fact sent Ms, Goddard the offending text
message. This was because Mr. Moreno represented that he was with friends on the night in
question, and that one of his friends texted Ms. Goddard from Mr. Moreno's cell as a joke when
Mr. Goddard left the cel] unattended.

34. At the conclusion of his investigation, Mr. Flaherty asked Ms. Goddard whether she

desired to file a formal complaint against Mr. Moreno with Human Resources. Ms. Goddard

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responded that she wished to do so. Accordingly, on or around January 4, 2017, Mr. Flaherty
forwarded his investigative report to Human Resources, which initiated a formal complaint on
Ms. Goddard's behalf.
MS. PRINCILUS DEMANDS MS. GODDARD FILE A COMPLAINT OF
HARASSMENT AGAINST MR. FLAHERTY AS A CONDITION OF
PROCEEDING WITH HER COMPLAINT AGAINST OFFICER MORENO

35. In med February 2017, Ms. Goddard met with Ms. Princilus regarding her formal
complaint of harassment against Mr. Moreno. During this meeting, Ms. Goddard mentioned in
passing that she had discussed workplace harassment with Mr. Flaherty in connection with her
complaint against Mr. Moreno. Specifically, Ms. Goddard mentioned that Mr. Flaherty had
shared a story about a female officer who routinely engaged in sexually vulgar jokes, yet was
surprised and offended when her co-workers presented her with a sexually graphic birthday cake
in jest.

36. As Ms. Goddard later confirmed to the Mercer County Prosecutor's Office in
August of 2017, she understood that Mr. Flaherty had relayed this anecdote to illustrate how an
individual's actions can cause others to misperceive that individual's tolerance or acceptance of
behaviors. Ms. Goddard was not offended by the anecdote or by Mr. Flaherty's relaying of it in
any way.

37. Also during her meeting with Ms. Princilus, Ms. Goddard mentioned in passing that
Mr. Flaherty had once told her that he had purchased contraception for his adult daughter. This
comment arose during a discussion Ms. Goddard initiated with Mr. Flaherty regarding her
relationship with her father. Again, as Ms. Goddard later confirmed to the Mercer County

Prosecutor's Office in August of 2017, she was not offended by the anecdote or by Mr. Flaherty's

relaying of it in any way.

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38. Nevertheless, Ms. Princilus then issued Ms, Goddard an ultimatum: Unless Ms.
Goddard also filed a formal complaint of sexual harassment against Mr. Flaherty, Ms. Princilus
would refuse to proceed with and investigate Ms. Goddard's formal complaint against Mr.
Moreno. In other words, Ms. Princilus made Ms. Goddard's filing of an entirely bogus,
fabricated and unrelated complaint of harassment against Mr. Flaherty a condition of Ms.
Princilus moving forward on Ms. Goddard's complaint against Mr. Moreno.

39. Ms. Princilus's ultimatum during the meeting of February 2017 is confirmed and
proven by 1) Ms. Goddard's own testimony to the Mercer County Prosecutor's Office in August
of 2017; 2) text messages by Ms. Goddard that were forwarded to Mr. Flaherty's possession by
another MCCC employee; 3) statements by Ms. Goddard to Director Marshall, Dr. Harris, and
Mr. Flaherty himself, several of which were recorded and preserved.

40. Ms. Goddard had no desire to file a complaint against Mr. Flaherty and expressed
so to Ms. Princilus. In fact, she was so distressed by the thought of accusing Mr. Flaherty that
she began to cry, yet Ms. Princilus continued to insist upon and pressure her for her compliance.
Fearing that her complaint against Mr. Moreno would be dropped otherwise, Ms. Goddard
reluctantly agreed to file a formal complaint of harassment against Mr. Flaherty, which she did
on February 2017.

41. Shortly thereafter, Ms. Princilus met with Mr. Flaherty and informed him that Ms.
Goddard had filed a formal complaint of harassment against him. Mr. Flaherty requested to
review the complaint, but to his astonishment, Ms, Princilus refused to give him a hard or even
an electronic copy of the document. Instead, Ms. Princilus read the contents of Ms. Goddard's
complaint aloud to Mr. Flaherty, refusing to allow him to take notes. She then concluded the

meeting by asking Mr. Flaherty to submit a written response.

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42. Accordingly, on February 22, 2017, Mr. Flaherty submitted a written response to
Ms. Goddard's complaint to HR. In his response, Mr. Flaherty provided context for his remarks
to Ms. Goddard, demonstrating that they were in no way sexually graphic, crude or harassing in
nature, but rather merely intended to address concerns that Ms. Goddard herself had raised.

MS. PRINCILUS UNDERMINES TITLE IX INVESTIGATIONS, LEADING TO
MR. FLAHERTY'S RESIGNATION AS TITLE IX INVESTIGATOR

43. In February and March 2017, Ms. Princilus launched a campaign to thwart and
undermine Mr. Flaherty in the execution of his duties as MCCC’s Title IX Investigator. As part
of that campaign, Ms. Princilus directed that Mr. Flaherty would no longer initiate and conduct
his own investigations when students or staff reported alleged Title IX infractions. Instead, Ms.
Princilus directed that, in the event of a reported Title EX violation, security staff were to hand
the presumed victim or victims a “Title [IX Questionnaire” form to complete and submit to HR.
HR would then ostensibly review these questionnaires to determine whether Mr. Flaherty would
be allowed to investigate the alleged incidents specifically as Title LX matters.

44. Mr. Flaherty reasonably believed that refusing to investigate alleged instances of
sexual assault/discrimination/harassment unless the presumed victim/victims completed a
questionnaire was in violation of Title IX and/or a threat to the safety, health and welfare of the
MCCC campus community. Such methods were in direct contravention of al] Mr. Flaherty's
training and experience in conducting Title [X investigations.

45. Accordingly, on March 10, 2017, Mr. Flaherty submitted an emai! to President
Wang, resigning from his position as Title IX Investi gator. He stated: "I cannot comprehend
how handing a victim of a heinous crime a form and telling them that they need to complete the
form and wait for review before any action can be taken is in the best interest of all parties.

Conducting an investigation in that manner goes against my training, ethics and morals. I can't

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in good moral conscious continue working as the Title [X investigator if the purpose is to
discourage victims" and hamper the investigative process.

46, In response, Mr. Flaherty received a letter from Dr. Harris confirming his
resignation. In that letter, Dr. Harris curiously implied that Mr. Flaherty resigned due to the
"stress" related to the Adam Woolf incident, rather than his objection to MCCC's handling of
Title IX investigations.

47. On or around March 21, 2017, Mr. Flaherty met with HR to discuss Ms. Goddard's
complaint, as well as Mr. Flaherty's complaint. Monise Princilus, former employee Yolanda
DeLoatch, and union representative Nancy Byme were present. During the meeting, Ms.
Princilus insisted on referring to Mr. Flaherty brusquely and dismissively as "Flaherty", while
addressing everyone else by their proper names.

48. Also on March 21, 2017, Mr. Flaherty clarified in a letter to Dr. Harris: “I cannot
comprehend how providing a victim of a crime a form and waiting for their response is in the
best interest of the victim or the college. That is why I have resigned, it was in no way stress
related. (emphasis added)."

49. Additionally, by letter to Dr. Harris dated March 28, 2017, Mr. Flaherty stated: “I
feel that issues that I have brought forth that specifically deal with the mandates of Higher
Education, the Dear Colleague Letter, and my training in Title [x have not been addressed and
could potentially leave the college exposed to liability.”

MR, FLAHERTY LEARNS THAT THE "HARASSMENT" COMPLAINT
AGAINST HIM WAS ORCHESTRATED BY DEFENDANT PRINCILUS, AND

MS. PRINCILUS ISSUES MR. FLAHERTY A RETALIATORY AND BOGUS
DISCIPLINARY MEMORANDUM

 

50. On or around March 29, 2017, Mr. Flaherty asked Dr. Harris as to the status of Ms.

Goddard's complaint and his related complaint, and Dr. Harris responded that they had been

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"resolved". However, over the next month, neither Ms. Princilus nor anyone from MCCC HR or
administration contacted Mr. Flaherty to advise him of the outcome of the complaints.

51. In or about mid-April 2017, Mr. Flaherty received a text exchange from a colleague
that this person had with Ms. Goddard in which Ms, Goddard reveals that "Since J filed a formal
complaint they made me put in a complaint against Mike Flaherty or they said they'd would drop
the whole case." When queried about who "made" her put in a complaint against Mr. Flaherty,
Ms. Goddard responded, "The head of HR."

52. Receiving this email exchange in April 2017 was how and when Mr. Flaherty first
learned that Ms. Goddard's "complaint" had in fact been orchestrated by Defendant Princilus.

53. Ms. Princilus ultimately issued a memorandum on Ms. Goddard's and Mr.
Flaherty's complaints on May 3, 2017. As to Ms. Goddard's complaint, the memorandum stated
that Mr. Flaherty "admitted" to "making statements/comments of a sexual nature", without
specifying the kind, degree or context of such comments. The memorandum further stated that
Mr. Flaherty’s conversations with Ms. Goddard were "in violation of College policy”, without
specifying a policy in particular. However, the memorandum directed Mr. Flaherty to review
College policy on “harassment”, The memorandum denied Mr. Flaherty's own complaint of
retaliation as unsubstantiated.

54. A copy of the memorandum concluding that Mr. Flaherty violated MCCC "policy"
and directing him to review the college's harassment policy was placed in Mr. Flaherty's
personnel file record.

55. Importantly, nowhere in Ms. Princilus's memorandum does she state or refer to the
fact that weeks prior, in April of 2017, Ms. Goddard withdrew her complaint against Mr.
Flaherty. Ms. Princilus herself confirmed this withdrawal when she conferred with Mr. Flaherty

regarding the memorandum on May 3, 2017.

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56. Accordingly, on May 4, 2017, Mr. Flaherty emailed Ms. Princilus to request that
she issue documentation (1) confirming Ms. Goddard withdrew her complaint against him; and
(2) stating the reason why her complaint was withdrawn: "You indicated verbally that the matter
is closed and that Officer Goddard has withdrawn her complaint. Upon review of the
documentation that I was provided with it does not address or state that the matter was
withdrawn. I am respectfully requesting additional documentation that clearly states the matter
was withdrawn and I would hike to know specifically why it was withdrawn."

57. By emai] dated May 5, 2017, Ms. Princilus denied Mr. Flaherty's request for
documentation: “I can confirm the other party has withdrew [sic] her complaint. Jam not aware
of a policy that dictates that you are entitled to a reason(s)."

58. Subsequently, Defendants have continued to target and harass Mr. Flaherty on a
near-weekly basis by delaying, intervening in, and obstructing his records requests relating to his
appeal of Ms. Princilus's memorandum, as well as MCCC's recent reduction in his salary.

59. Defendant MCCC, through the arms of Defendants Princilus and Harvis, have
retaliated against and continue to retaliate against Mr. Flaherty for his repeated and well-
documented complaints that MCCC violated the Clery Act, Title IX, and/or public policy
relating to health, safety and welfare.

60. In response to Mr. Flaherty’s whistle-blowing complaints, voiced both internally
and externally, Defendants have targeted and continue to target Mr. Flaherty for termination by
(1) forcing Mr. Flaherty's subordinate to file a completely fabricated charge of harassment
against him; (2) denying Mr. Flaherty even a modicum of due process during Ms. Princilus's
purported "investigation" of Ms. Goddard's complaint; (3) issuing a memorandum to Mr.

Flaherty's personnel file indicating that he violated the college's harassment policy; and (4)

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refusing to place any documentation in Mr. Flaherty's personnel file clarifying that the so-called
complaint against him was withdrawn.

61. Defendants are in direct violation of the New Jersey Conscientious Employee
Protection Act.

COUNT I- VIOLATON OF CEPA

62. Plaintiff hereby incorporates and restates the allegations contained in the preceding
Paragraphs as set forth at length herein.

63. Defendants subjected Mr. Flaherty to an adverse employment action in retaliation
for protected whistle-blowing conduct in violation of the New Jersey Conscientious Employee
Protect Act, N.LS.A. 34:19-1 et seq. (CEPA).

64. As aresult of Defendants’ unlawful conduct, Mr. Flaherty has been subjected to job
detriment and economic losses.

65. Asaresult of Defendants’ unlawful conduct, Mr. Flaherty has been subjected to
mental anguish, embarrassment, stress, anxiety, and humiliation and other pain and suffering.

WHEREFORE, Plaintiff demands the following damages and relief:

a. Judgment in favor of the plaintiff and against the defendants;

b. Compensatory damages;

c. Punitive damages;

d. Attomeys fees;

e. Costs of suit;

f. Reinstatement and any such additional relief as this Court deems just and
equitable.

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Respectfully submittgd,

 

David Zatuchni, Esq.
Zatuchni & Associ TLC
287 South Main Street
(Route 29)

Lambertville, NJ 08530
609-243-0300

Attorneys for Plaintiff

Dated: Febru ary/ | ,2018

CERTIFICATION PURSUANT TO R. 4:5-1
I hereby certify that this matter in controversy is not the subject of other actions pending
in any court or arbitration proceedings, or any such contemplated other actions or arbitration

proceedings.

 

   

(Route 29)
Lambertville, NJ 08530
609-243-0300
Attorneys for Plaintiff

Dated: February ( 2018

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DESIGNATION OF TRIAL COUNSEL

David Zatuchni, Esq. is hereby designated as trial counse! in this matter.

DW Be

David Zatuchni, cs he
Zatuchni & rein ye
287 South Main Stree
(Route 29)
Lambertville, NJ 08530
609-243-0300
Attorneys for Plaintiff

Dated: February? |, 2018

JURY DEMAND

Plaintiff hereby demands a trial by jury on all issues and claims.

David Zatuchni, Esq.
Zatuchni & pssoce S
287 South Main S

(Route 29)
Lambertville, NJ 08530
609-243-0300
Attorneys for Plaintiff

Dated: February“(, 2018

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Civil Case Information Statement

 

Case Caption: FLAHERTY MICHAEL VS MERCER CTY. Case Type: WHISTLEBLOWER / CONSCIENTIOUS EMPLOYEE
COMMUNIT Y COLLE PROTECTION ACT (CEPA)

Case Initiation Date: 02/21/2018 Document Type: Complaint with Jury Demand

Attorney Name: DAVID ZATUCHNI Jury Demand: YES - 6 JURORS

Firm Name: ZATUCHNI & ASSOCIATES, LLC Hurricane Sandy related? NO

Address: 287 S MAIN ST Is this a professional malpractice case? NO

LAMBERTVILLE NJ 685300000 Related cases pending: NO

Phone: Kf yes, list docket numbers:

Name of Party: PLAINTIFF : Flaherty, Michael Do you anticipate adding any parties (arising out of same
Name of Defendant's Primary Insurance Company transaction or occurrence)? NO

(if known): Unknown

 

CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION

Do parties have a current, past, or recurrent relationship? YES
If yes, is that relationship: Empioyer/Employee
Does the statute governing this case provide for payment of fees by the losing party? YES

Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:

Do you or your client need any disability accommodations? NO
If yes, please identify the requested accommedation:

Will an interpreter be needed? NO
If yes, for what language:

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| certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 

02/21/2018 {si DAVID ZATUCHNI
Dated Signed

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